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                           IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF MARYLAND

UNITED STATES OF AMERICA                            *
                                                    *
           v.                                       *           CRIMINAL NO. ABA-24-310
                                                    *

MICHAEL SAM TEEKAYE, JR.,                           *

                                                    *
                  Defendant.                        *
                                                 *******

                                GOVERNMENT’S STATUS REPORT

           The United States of America, by and through its undersigned attorneys, hereby submits

    this Status Report, and states as follows:

           1.      On October 15, 2024, U.S. Magistrate Judge Erin Aslan issued a criminal

    complaint charging the defendant, Michael Sam Teekaye, Jr., with one count of attempting to

    provide material support or resources to a designated foreign terrorist organization, in violation

    of 18 U.S.C. § 2339B. 1 ECF 1. Teekaye had his initial appearance that same day, and he was

    ordered detained by agreement. ECF 3, 7.

           2.      On October 24, 2024, a federal grand jury in the District of Maryland returned an

    Indictment charging Teekaye with one count of attempting to provide material support or

    resources to a designated foreign terrorist organization, in violation of 18 U.S.C. § 2339B, and

    one count of assaulting a federal officer, in violation of 18 U.S.C. § 111. ECF 11.

           3.      Teekaye had an initial appearance on the indictment on October 30, 2024. ECF



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 A corrected complaint was issued by Judge Aslan on October 18, 2024 and docketed on October
31, 2024. See ECF 1-2.
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14. Also on October 30, 2024, the parties had a discovery conference and discussed categories

of discovery and a timetable for production. The parties also agreed to request to toll the speedy

trial clock through the scheduled status conference on November 22, 2024.

        4.     On November 4, 2024, the court granted the parties’ consent motion to exclude

the time from October 30, 2024 through November 22, 2024 from the Speedy Trial Act

computation. ECF 18.

        5.     On November 7, 2024, the court granted the parties’ consent motion for a

protective order pertaining to personal identity information contained in the discovery. ECF 20.

        6.     Also on November 7, 2024, the government made an initial discovery production

of over 8 gigabytes of data (Discovery Production #1), which included subpoena returns, pen

register data, search warrant returns for Teekaye’s Instagram account, and audio and video

recordings of Teekaye’s arrest and interview.         The government also requested reciprocal

discovery under Rule 16.

        7.     On November 19, 2024, the government made a second discovery production of

close to one terabyte of data (Discovery Production #2), consisting of forensic extractions of a

cell phone, laptop computer, and thumb drive recovered from Teekaye’s personal belongings and

residence on or about October 14, 2024.

        8.     On November 20, 2024, government counsel spoke to counsel for the defendant,

and the parties agreed to toll the speedy trial clock for an additional 60 days, through January 21,

2025.

        9.     On November 21, 2024, the government filed a motion to appoint a Classified

Information Security Officer (“CISO”) and memorandum of law in support. ECF 22.

        10.    On November 22, 2024, the court held a telephonic status conference with the
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parties to discuss discovery and related issues. Defense counsel advised the court that they had

no objection to the motion to appoint a CISO, which the court granted later that day. ECF 25.

       11.     On November 26, 2024, the government made a third discovery production of

roughly 5 gigabytes of data (Discovery Production #3), which consisted of subpoena returns from

the Maryland Aviation Administration containing video footage of Teekaye at the

Baltimore/Washington International Airport.

       12.     Also on November 26, 2024, the court granted the parties’ consent motion to

exclude the time from October 30, 2024 through January 21, 2025 from the Speedy Trial Act

computation. ECF 28.

       13.     On December 5, 2024, the government made a fourth discovery production of

over one terabyte of data (Discovery Production #4), which consisted of search warrant returns

for Teekaye’s Apple iCloud account. (The government also re-produced Discovery Production

#2, which the defense paralegal had accidentally deleted due to a misunderstanding.)

       14.     On December 6, 2024, the government made a fifth discovery production

(Discovery Production #5), which consisted of roughly 40 jail calls made from Teekaye’s

account at the pretrial detention facility where he is housed.

       15.     On December 10, 2024, the government made a sixth discovery production of

roughly 535 gigabytes of data (Discovery Production #6), which consisted of pole camera

footage from the vicinity of Teekaye’s home.

       16.     The government plans to make a large discovery production next week (the week

of December 23, 2024) that will include the bulk of the case reporting by the Federal Bureau of

Investigation, as well as conversations between Teekaye and undercover officers pertinent to the

case. The government anticipates smaller productions in the New Year.
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       17.     Because of the nature of the case, the government has taken measures to ensure

that other potentially relevant classified materials are identified, located, and reviewed by the

case team to determine whether they might be discoverable. The government is doing everything

within its power to complete this process expeditiously. Based on what we have received so far,

we do not expect that there will be any need to produce classified discovery to the defense in the

case. If and when that changes, we will let the court know.

       18.     On December 20, 2024, undersigned counsel spoke to counsel for the defendant,

and they advised that they have no objections to this status report.



                                                     Respectfully submitted,

                                                     Erek L. Barron
                                                     United States Attorney

                                                     ___________________________
                                                     Christina A. Hoffman
                                                     Assistant United States Attorney
                                                     36 South Charles Street
                                                     Fourth Floor
                                                     Baltimore, Maryland 21201


                                                     FILED VIA ECF-MD




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